                   UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION


UNITED STATES OF AMERICA                    )     DOCKET NO. 1:18-CR-022
                                            )
            vs.                             )
                                            )
LAURISA DEVANE HUTCHINS                     )
                                            )


                   GOVERNMENT’S MOTION TO SEAL
      NOW COMES the United States of America, by and through R. Andrew
Murray, United States Attorney for the Western District of North Carolina, and
respectfully submits this motion to seal the defendant’s Bureau of Prisons medical
records, which it wishes to file as Exhibit 2 and Exhibit 3 to the Government’s
Opposition to the Defendant’s Motion for Compassionate Release.
      Respectfully submitted, this 3rd day of December, 2020.

                                     R. ANDREW MURRAY
                                     UNITED STATES ATTORNEY


                                     /s/ Richard Lee Edwards

                                     RICHARD LEE EDWARDS
                                     ASSISTANT U. S. ATTORNEY
                                     N.C. Bar Number 30205
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                                      E-mail: Richard.Edwards2@usdoj.gov



                          CERTIFICATE OF SERIVCE

I hereby certify that I have caused the forgoing motion to seal to be served on the
defendant by first class mail at:

Laurisa Devane Hutchins, Reg. No. 34119-058
Alderson Federal Prison Camp
P.O. Box A
Alderson, WV 24910

This the 3rd day of December, 2020.

/s/ Richard Lee Edwards
RICHARD LEE EDWARDS
ASSISTANT UNITED STATES ATTORNEY




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